CaSe 2:04-cv-02975-BBD-dkv Document 21 Filed 05/09/05 Page 1 of 3 Page|D 16

 

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IN THE UNITED sTATEs DISTRICT coURT --CG:O.C‘
FOR THE wEsTERN DISTRICT oF TENNESSEE USHM*Q PH 3'
wEsTERN DIVISION l !9
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STEVEN N. EDWARDS,
Plaintiff,

vs. Civ. No. 04-2975-D[P

DAIMLERCHRYSLER CORPORATION,

Defendant.

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SCHEDULING ORDER

 

Pursuant to written notice, a scheduling conference was held
May 5, 2005. Present were Michael Rafferty, counsel for plaintiff,
and John Wardlaw and Mark Allard (via telephone), counsel for
defendant. At the conference, the following dates were established
as the final dates for:
JOINING PARTIES: July l, 2005
AMEN'DING PLEADINGS: July l, 2005

INITIAL MOTIONS TO DISMISS: AuguSt l, 2005

COMPLETING ALL DISCOVERY: The Court finds that discovery is not
permissible in this ERISA case. See Wilkins v. Baotist HealthCare
System, 150 F.3d 609 (6th Cir. 1998). Plaintiff may renew request
for limited discovery at a later time if appropriate.

FILING ADMINISTRATIVE RECORD: Jun€ 15, 2005

DEFENDANT'S MOTION FOR JUDGMENT ON THE RECORD: August 15, 2005

Ttns document entered on the docket sheet ln compliance
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with nme 58 and/or 79(a) FRCP on d o ' /

CaSe 2:O4-cv-O2975-BBD-dkv Document 21 Filed 05/09/05 Page 2 of 3 Page|D 17

PLAINTIFF'S RESPONSE: September 15, 2005
EXPERT WITNESS DISCLOSURE (RULE 25): NOH€
OTHER RELEVANT MATTERS:

This case is set for a jury trial. The pretrial order date,
pretrial conference date, and trial date will be set by the
presiding judge. lt is anticipated. that the trial will last
approximately 2-3 days. Defendant’s have filed a motion to strike
jury trial.

The parties disagree on whether~ ADR is appropriate. The
parties have engaged and will continue to engage in discussions.

The parties are reminded that pursuant to Local Rule
11(a)(1)(A), all motions, except motions pursuant to Fed. R. Civ.
P. 12, 56, 59, and 60 shall be accompanied by a proposed order.

The opposing party may file a response to any motion filed in
this matter. Neither party may file an additional reply, however,
without leave of the court. If a party believes that a reply is
necessary; it shall file a motion for leave to file a reply
accompanied by a memorandum setting forth the reasons for which a
reply is required. At the scheduling conference, plaintiff
requested that he be allowed to file a response brief to any reply
brief that may be filed by the defendant in regard to the motion
for judgement on the administrative record.

The parties have not consented to trial before the magistrate
judge.

This order has been entered after consultation with trial
counsel pursuant to notice. Absent good cause shown, the
scheduling dates set by this order will not be modified or
extended.

IT IS SO ORDERED.

€_______Fr_
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TUM.PHAM

United States Magistrate Judge

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Notice of Distribution

This notice confirms a copy of the document docketed as number 21 in
case 2:04-CV-02975 Was distributed by faX, mail, or direct printing on
May 9, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

